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1                              UNITED STATES DISTRICT COURT
                          FOR THE CENTRAL DISTRICT OF CALIFORNIA
2
                                     WESTERN DIVISION
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4    AKAYLA MILLER, individually and on behalf            Case No. 2:20-cv-03833-SVW (SKx)
     of all others similarly situated,
5                                                         [PROPOSED] ORDER GRANTING
                           Plaintiff,                     PLAINTIFFS’ MOTION FOR
6                                                         CONSOLIDATION, BIFURCATION,
            v.                                            AND APPOINTMENT OF INTERIM
7                                                         CLASS COUNSEL
     BOARD OF TRUSTEES OF THE
8    CALIFORNIA STATE UNIVERSITY,

9                            Defendant.
     HELEN RIFAT, individually and on behalf of           Case No. 2:20-cv-04421-CJC-RAO
10   others similarly situated,

11                         Plaintiff,

12          v.

13   BOARD OF TRUSTEES OF THE
     CALIFORNIA STATE UNIVERSITY,
14
                           Defendant.
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            Plaintiffs Akayla Miller’s and Helen Rifat’s Motion for Consolidation, Bifurcation, and
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     Appointment of Interim Class Counsel came for hearing before this Court on June 29, 2020. After
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     consideration of the briefs and arguments of counsel, and all other matters presented to the Court, IT
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     IS HEREBY ORDERED as follows:
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            Plaintiffs’ Motion is GRANTED. The Court hereby: (a) consolidates Miller v. Board of
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     Trustees of the California State University, C.D. Cal. Case No. 2:20-cv-03833-SVW-SK (“Miller”)
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     with Rifat v. Board of Trustees of the California State University, C.D. Cal. Case No. 2:20-cv-04421-
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     CJC-RAO (“Rifat”); (b) bifurcates these cases, and all hereinafter-filed, related cases, into a “Fee
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     Track” and a “Tuition Track,” and (c) appoints Adam J. Levitt, of DiCello Levitt Gutzler LLC,
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     Matthew S. Miller, of Matthew S. Miller LLC, and C. Moze Cowper, of Cowper Law PC, as Interim
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     Class Counsel for the Fee Track; and (d) appoints Roy T. Willey, IV and Eric M. Poulin, of the
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     Anastopoulo Law Firm, LLC, as Interim Class Counsel for the Tuition Track.
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     [PROPOSED] ORDER GRANTING CONSOLIDATION, BIFURCATION, AND APPOINTMENT OF INTERIM CLASS              1
     COUNSEL; CASE NOS: 2:20-CV-03833-SVW-SK; 2:20-CV-04421-CJC-RAO.
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1           Interim Class Counsel appointed herein for the Fee Track and the Tuition Track will be

2    generally responsible for the overall conduct of the litigation on behalf of the separate classes for

3    which they have respectively been appointed. Interim Class Counsel for each of those tracks shall

4    have sole authority to do the following with respect to their respective tracks:

5               1. Separately determine and present to the Court and opposing parties the position of

6                   Plaintiffs and the other proposed Fee Track/Tuition Track Class members on all

7                   matters, substantive and procedural, arising from these proceedings;

8               2. Separately enter into stipulations with opposing counsel, as necessary, for the conduct

9                   of the litigation, with respect to the Fee Track and the Tuition Track;

10              3. Coordinate, to the extent practicable, and conduct discovery on behalf of Plaintiffs and

11                  the other proposed Fee Track/Tuition Track Class members consistent with the

12                  requirements of the Federal Rules of Civil Procedure;

13              4. Host or co-host a common document depository, if feasible, or separate document

14                  depositories, for Plaintiffs and the other proposed Fee Track/Tuition Track Class

15                  members and monitor the review of documents to ensure non-duplication of effort;

16              5. Separately hire expert witnesses and consultants on behalf of Plaintiffs and the other

17                  proposed Fee Track/Tuition Track Class members, as needed to prepare for class

18                  certification or trial proceedings on each of those separate tracks, and advance other

19                  costs that may be reasonable and necessary to the conduct of their respective litigation
20                  tracks;

21              6. Separately (or jointly, if feasible) conduct settlement negotiations on behalf of

22                  Plaintiff(s) and the other proposed Fee Track/Tuition Track Class members, and, if

23                  appropriate, separately (or jointly, if feasible) enter into settlements that are fair,

24                  reasonable, and adequate on behalf of the proposed Fee Track and Tuition Track

25                  Classes;

26              7. Separately delegate specific tasks to other counsel and appoint such informal
27                  committees of counsel as are necessary for the Fee Track and/or the Tuition Track;

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     [PROPOSED] ORDER GRANTING CONSOLIDATION, BIFURCATION, AND APPOINTMENT OF INTERIM CLASS
     COUNSEL; CASE NOS: 2:20-CV-03833-SVW-SK; 2:20-CV-04421-CJC-RAO.                                      2
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1              8. Separately prepare and distribute periodic status reports for Plaintiff(s) on each track,

2                  as required;

3              9. Separately monitor the activities of other counsel working on the Fee Track or the

4                  Tuition Track to ensure that schedules relating to each of those tracks are met and that

5                  unnecessary expenditures of time and funds are avoided;

6              10. Separately perform such other duties as may be incidental to the proper prosecution

7                  and coordination of activities on behalf of Plaintiff(s) and the other proposed Fee

8                  Track/Tuition Track Class members or authorized by further order of this Court;

9              11. Keep the other attorneys on each of the tracks advised of the progress of the litigation

10                 and consult them about decisions significantly affecting their clients; and

11             12. Keep daily records of their time spent and expenses incurred in connection with this

12                 litigation, indicating with specificity the hours, location, and particular activity.

13   IT IS SO ORDERED.

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     Date:   September 15, 2020
15                                                                    Hon. Stephen V. Wilson
                                                                  United States District Court Judge
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     [PROPOSED] ORDER GRANTING CONSOLIDATION, BIFURCATION, AND APPOINTMENT OF INTERIM CLASS
     COUNSEL; CASE NOS: 2:20-CV-03833-SVW-SK; 2:20-CV-04421-CJC-RAO.                                       3
